        Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 1 of 83



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13                                 UNITED STATES DISTRICT COURT
14
                                  NORTHERN DISTRICT OF CALIFORNIA
15
                                  OAKLAND/SAN FRANCISCO DIVISION
16
      META PLATFORMS, INC., a Delaware                            21-9807
                                                       Case No. ___________
17    corporation;
18                   Plaintiff,                        COMPLAINT
              v.
19                                                     DEMAND FOR JURY TRIAL
      Social Data Trading Ltd., d/b/a “SOCIAL
20    DATA,” “SOCIALDATA.HK,” and
      “IQDATA.SOCIAL”
21
                     Defendant.
22

23

24

25          Plaintiff Meta Platforms, Inc. (“Meta”), formerly known as Facebook, Inc., alleges the
26   following:
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                                                COMPLAINT
       Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 2 of 83



                                            INTRODUCTION
 1
            1.      Beginning no later than September 2020 and continuing to at least September 2021,
 2
     Defendant Social Data Trading Ltd. operated an unlawful service designed to improperly collect or
 3
     “scrape” account profiles from various websites, including Instagram, YouTube, and TikTok.
 4
     Defendant claimed to have collected account profiles for more than 91 million Instagram users, 5.5
 5
     million TikTok users, and 3.9 million YouTube users. As to Instagram, Defendant used automated
 6
     Instagram accounts and a network of computers or “bots,” which pretended to be mobile Android
 7
     devices connected to the official Instagram app, to scrape publicly viewable profiles of Instagram
 8
     users, including the username, profile photo, number of followers, posts, and likes, and information
 9
     about their followers, including gender, language, and location. Defendant sold data scraped from
10
     Instagram, YouTube, and TikTok as “demographics” and “insights” about “influencers and their
11
     audiences.” Exhibit A.
12
            2.      Beginning no later than May 20, 2021, Plaintiff notified Defendant of its violations,
13
     disabled its accounts, and revoked Defendant’s access to its service. Defendant then began using
14
     a new business name to access and scrape profiles of Instagram users. Plaintiff brings this action
15
     to stop Defendant’s violations of Instagram's Terms of Use and the California Comprehensive
16
     Computer Data Access and Fraud Act, California Penal Code § 502. Plaintiff also brings this action
17
     for damages and disgorgement for breach of contract and unjust enrichment.
18
                                                 PARTIES
19
            3.      Plaintiff Meta is a Delaware corporation with its principal place of business in
20
     Menlo Park, San Mateo County, California.
21
            4.      Defendant Social Data Trading Ltd. is a limited liability company registered in Hong
22
     Kong, China. Exhibit B. According to its website socialdata.hk, which Defendant used between
23
     September 2020 and May 20, 2021, Defendant sold “in-depth insights into the demographics and
24
     psychographics of influencers and their audiences” derived from social media platforms, including
25
     Instagram, YouTube, and TikTok. Exhibits A, C. On April 15, 2021, as part of its enforcement
26
     efforts, Meta blocked internet traffic from Instagram and Facebook to the socialdata.hk website.
27
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                                                 COMPLAINT
        Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 3 of 83




 1   Approximately a month later, on May 17, 2021, Defendant anonymously registered the replacement
 2   website IQdata.social and used it to sell account profiles scraped from Instagram.
 3           5.      According to corporate records, Alexei Poliakov and Adhar Singh are the principals
 4   of Defendant, manage its business and operations, and reside in Russia.
 5           6.      According to his LinkedIn profile, Poliakov was previously employed by at least
 6   one other company (“Deep.Social”) that Meta previously enforced against for scraping Instagram
 7   in 2018. Deep.Social purportedly ceased operations in August of 2018 and by August 2019,
 8   Defendant was registered as “Social Data Trading Ltd.” in Hong Kong, China. Also in 2019 and
 9   2020, Poliakov retained nominee directors for Social Data Trading Ltd., namely, Carol Joubert
10   (from August 20, 2019 to March 20, 2020), and Mariska Supra (March 20, 2020 to the present) (the
11   “Nominee Directors”) to act at his direction. Exhibits D, E, F. The Nominee Directors retained for
12   Defendant in 2019 and 2020 were directors of Social Data Trading Ltd. in name only and were not
13   involved in the company’s day to day activities.
14           7.      According to his LinkedIn profile, Singh was also previously employed at
15   Deep.Social until 2019.
16           8.      On information and belief, Poliakov and Singh were also associated with a third
17   company (“Social Data Ltd.”) that Meta has also previously enforced against for scraping Facebook
18   and Instagram. Social Data Ltd. purportedly ceased operations in 2020.
19                                     JURISDICTION AND VENUE
20           9.      The Court has jurisdiction under 28 U.S.C. § 1332 over all causes of action alleged
21   in this complaint because complete diversity exists and the amount in controversy exceeds $75,000.
22           10.     The Court has personal jurisdiction over Defendant because Defendant created and
23   used multiple Instagram accounts thereby agreeing to Instagram’s Terms of Use, and submitting to
24   the personal jurisdiction of this Court for litigating this matter.
25           11.     In addition, the Court has personal jurisdiction because Defendant purposefully
26   directed its conduct at California and at Plaintiff, which has its principal place of business in
27   California. Defendant’s business depends on accessing and scraping Instagram. Since at least
28
                                                         3
                                                   COMPLAINT
        Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 4 of 83




 1   September 2020, Defendant has transacted business and engaged in commerce in California by,
 2   among other things, purposefully scraping the Instagram accounts of approximately 250,000
 3   California users. Plaintiff’s claims arise directly from all of these California contacts.
 4          12.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) as the
 5   threatened and actual harm to the Plaintiff occurred in this district.
 6          13.     Pursuant to Civil L.R. 3-2(c), this case may be assigned to either the San Francisco
 7   or Oakland division because Meta is located in San Mateo County.
 8                                      FACTUAL ALLEGATIONS
 9          A.      Background on Meta and the Facebook and Instagram Platforms
10          14.     Meta operates Facebook, a social networking website and mobile application that
11   enables its users to create their own personal profiles and connect with each other on their personal
12   computers and mobile devices.
13          15.     Meta also operates Instagram, a photo and video sharing service, website and mobile
14   application, and social network. Instagram users can post photos and videos to their profile. They
15   can also view, comment on, and like posts shared by others on Instagram. The Instagram service
16   is a Meta product.
17          16.     When an Instagram user posts a photo, other Instagram users can view the photo
18   and choose to “like” or “comment” on it. Depending on the users’ privacy settings, only approved
19   followers of an account may see certain users’ posts or the users’ posts may be viewable by all
20   Instagram users. Users can change their privacy settings at any time.
21          17.     Instagram users can tag their photos with hashtags—words or phrases preceded by
22   a number or hash sign (#)—that indicate that the post is about a specific topic. Other users can then
23   search for hashtags to find content related to various topics.
24          18.     Instagram users can gain followers, views, and likes, but only from other registered
25   Instagram users. To create and use an Instagram account, users must enter a valid email address or
26   phone number, which requires a confirmation code, and must register a unique username and
27   password.
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                                                   COMPLAINT
       Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 5 of 83




 1           19.     Instagram can be viewed using the Instagram mobile application (“Official IG
 2   App”) or at the website www.instagram.com. The Official IG App is a mobile application designed
 3   by Meta that users can download onto their mobile device. Communications made by authenticated
 4   Instagram users, using the Official IG App, are sent to Meta computers, which then return
 5   information to allow a user to experience the Instagram service on the Official IG App.
 6           B.      Instagram’s Terms of Use
 7           20.     Everyone who creates and uses an Instagram account agrees to Instagram’s Terms
 8   of Use (“Instagram’s Terms”) (available at https://help.instagram.com/581066165581870) and
 9   other policies that govern access to and use of Instagram. Because Instagram is a Facebook (now
10   Meta) product, the Instagram Terms of Use constitute an agreement between Instagram users and
11   Meta.         Id.;      see       also       “Facebook        Products,”         available      at
12   https://www.facebook.com/help/1561485474074139?ref=igtos.
13           21.     Since at least April 2018, Instagram’s Terms prohibit users from (a) “do[ing]
14   anything unlawful, misleading, or fraudulent or for an illegal or unauthorized purpose;” (b)
15   “creating accounts or collecting information in an automated way”; (c) using Instagram if Meta
16   “previously disabled your account for violation of law or any of [Instagram’s] policies”; and (d)
17   “help[ing] or encourag[ing] others to violate” Instagram’s Terms and policies.
18           C.      Defendant Agreed to Instagram’s Terms
19           22.     At all times relevant to this case, Defendant was bound by Instagram’s Terms.
20           23.     Defendant’s principal Adhar Singh created and used several Instagram accounts,
21   including on December 14, 2012; March 26, 2017; November 3, 2018; January 30, 2019; March
22   30, 2019; and May 15, 2021. Defendant’s principal Alexei Poliakov also created and used several
23   Instagram accounts, including on September 5, 2013; October 14, 2016; July 11, 2017; January 12,
24   2018; April 24, 2018; and January 18, 2019. In addition, between September 2020 and at least
25   September 2021, Defendant used thousands of automated Instagram accounts to scrape data from
26   Instagram.
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                                                 COMPLAINT
       Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 6 of 83



            D.      Background on Scraping
 1
            24.     Scraping is a form of data collection that relies on unauthorized automation for the
 2
     purpose of extracting data from a website or app. Defendant’s own Terms of Service define
 3
     scraping as: “obtaining information contained on websites through automated means. Same
 4
     information may be obtained manually, but through automation, the speed and amount of obtained
 5
     data is incomparably bigger.” Exhibit G.
 6
            25.     Meta employs a number of measures to detect and disrupt certain types of abuse of
 7
     the Instagram service. For example, Meta monitors for the creation of automated accounts
 8
     purporting to be individual users. Additionally, Meta monitors for and disables accounts engaged
 9
     in unauthorized automated collection of data.
10
            E.      Defendant’s Scraping Operation
11
            26.     From at least September 2020 until no later than May 25, 2021, Defendant used the
12
     website socialdata.hk to “offer a web scraping service.” Exhibit G. Defendant offered its customers
13
     information scraped from Instagram users’ profiles, such as verified badge status, follower count,
14
     post count, number of likes, and number of comments, as well as information about certain users’
15
     followers. Exhibits A, H.
16
            27.     In order to scrape Instagram, Defendant used automation software (the “Scraping
17
     Software”) and thousands of automated Instagram accounts to improperly collect and aggregate
18
     data. Defendant scraped data from restricted Meta computers that are only accessible to authorized
19
     and logged in Instagram users. Defendant programmed the Scraping Software to mimic authorized
20
     users of the Official IG App. In fact, Defendant was not an authorized user and instead a network
21
     of computers operating virtual mobile devices for the purpose of making unauthorized automated
22
     requests for user data from Meta computers. The Scraping Software was not able to circumvent
23
     users’ privacy settings and unable to scrape data that was not otherwise viewable to a user’s
24
     followers.
25
            28.     Between September 2020 and at least September 2021, Defendant used thousands
26
     of automated Instagram accounts to scrape data from Meta computers. In many instances, Meta
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                                                COMPLAINT
        Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 7 of 83




 1   detected and disabled the accounts. Specifically, between September 2020 and September 2021,
 2   Meta disabled thousands of automated Instagram accounts associated with Defendant.
 3          29.     Defendant’s Scraping Software scraped information about Instagram users,
 4   including the user’s Instagram username, number of followers, posts, comments, and whether or
 5   not the account was confirmed to belong to a public figure, celebrity or brand, and was programmed
 6   to transmit it to Defendant’s servers.
 7          30.     Since at least September 2020, Defendant has used websites socialdata.hk or
 8   IQdata.social to sell various types of data scraped from Instagram, YouTube, and TikTok, including
 9   a product called “Audience Data.” This was compiled data scraped from the followers of Instagram
10   users with large followings (“Influencers”). Defendant advertised that they had scraped data from
11   76M Instagram influencers’ followers, including their gender, ethnicity, language, country and city
12   locations, interests, and brand affinities. Exhibits A, I.
13          31.     For example, customers who purchased Defendant’s “Audience Data” product
14   entered the username of an Instagram user about whom they sought data into the search bar of
15   socialdata.hk. Exhibit I. Defendant then generated a report with information scraped from that
16   account, including, for example, the user’s Instagram username, number of followers, number of
17   posts, number of comments, and the verified status of the account, which shows whether Instagram
18   has confirmed that an account is the authentic presence of the individual or brand it represents.
19   E.g., Exhibit J. In addition, Defendant’s report included information about the user’s followers,
20   including, for example, the followers’ age, gender, and location. Id.
21          F.      Meta’s Past Enforcement Actions against Defendant
22          32.     Since September 2020, Meta has taken multiple enforcement actions against
23   Defendant for violating Instagram’s Terms and disabled thousands of automated Instagram
24   accounts associated with Defendant.
25          33.     On or about April 15, 2021, after Meta detected scraping activity associated with
26   Defendant’s domain socialdata.hk, Meta blocked the domain socialdata.hk from the Facebook and
27   Instagram platforms. On or about May 17, 2021, Defendant used a proxy service to anonymously
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                                                   COMPLAINT
       Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 8 of 83




 1   register the domain IQdata.social and began using the website IQdata.social to sell data scraped
 2   from Instagram. Exhibits K, L.      Approximately one week later, Defendant stopped using the
 3   website socialdata.hk.
 4            34.   On or about May 20, 2021, Meta sent Defendant a cease and desist letter, notifying
 5   Defendant of its violations of Instagram’s Terms, demanding that Defendant stop these violations,
 6   and revoking its access to Instagram. Meta also requested Defendant delete all data scraped from
 7   Facebook and Instagram. Exhibit M.
 8            35.   On or about May 22, 2021, Singh responded on behalf of Defendant, acknowledged
 9   scraping data from Instagram “with the use of technology,” and stated it was a “fundamental right.”
10   Exhibit N. Despite Meta’s technical enforcement and cease and desist letter, as of September 13,
11   2021, Defendant continues to scrape Instagram user profiles.
12            G.    Defendant Unjustly Enriched Itself and Harmed Meta
13            36.   Defendant’s violations of Instagram’s Terms harmed Meta. Defendant interfered
14   and continues to interfere with Meta’s products, including Instagram.
15            37.   Defendant’s unauthorized use of Meta’s computers, computer system, and computer
16   network has damaged Meta, including but not limited to the time and money spent investigating
17   and mitigating Defendant’s unlawful conduct, in an amount to be determined at trial, and in excess
18   of $75,000.
19            38.   Since at least September 2020, Defendant has unjustly enriched itself at Meta’s
20   expense in an amount to be determined at trial. Meta is entitled to an accounting by Defendant and
21   a disgorgement of all unlawful profits gained from its conduct.
22                                    FIRST CAUSE OF ACTION
23
                                            (Breach of Contract)
24            39.   Meta realleges and incorporates all preceding paragraphs here.
25            40.   In order to create an account, an Instagram user must agree to abide by Instagram’s
26   Terms.
27
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                                                COMPLAINT
       Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 9 of 83




 1           41.    Since January 2019, Defendant created and used multiple Instagram accounts and
 2   agreed to Instagram’s Terms. Defendant agreed to Instagram's Terms no later than January 30,
 3   2019.
 4           42.    In addition, since September 2020, Defendant has used thousands of Instagram
 5   accounts to scrape Instagram.
 6           43.    Defendant breached the Terms by using unauthorized automated means to access
 7   Instagram and collect data from Meta computers without permission, including after Meta revoked
 8   Defendant’s access to its platform.
 9           44.    Meta has performed all conditions, covenants, and promises required of it in
10   accordance with Instagram’s Terms.
11           45.    Defendant’s breaches have caused Meta to incur damages in an amount to be
12   determined at trial, and in excess of $75,000.
13                                   SECOND CAUSE OF ACTION
14                                     (California Penal Code § 502)
15           46.    Meta realleges and incorporates all preceding paragraphs here.
16           47.    Defendant’s access and use of Meta’s computers, computer systems, and computer
17   network was without permission because Defendant accessed Meta’s computer network after Meta
18   disabled its Instagram accounts, blocked the domain socialdata.hk, and sent correspondence to
19   Defendant revoking its access. On or about May 20, 2021, Meta sent Defendant a cease and desist
20   letter revoking Defendant’s permission to access Facebook and Instagram. Meta also took technical
21   measures to revoke Defendant’s access that barred Defendant’s accounts and ability to access the
22   Instagram platform beginning no later than April 15, 2021. Nevertheless, Defendant subsequently
23   accessed Meta’s protected computers when it created and used new accounts in order to continue
24   scraping data from Instagram, without Meta’s permission.
25           48.    Beginning no later than June 2021, Defendant, without permission, knowingly
26   accessed and otherwise used Meta’s computers, computer system, and computer network in order
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                                                 COMPLAINT
       Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 10 of 83




 1   to (a) devise or execute any scheme or artifice to defraud and deceive, and (b) to wrongfully obtain
 2   money, property, or data, in violation of California Penal Code § 502(c)(1).
 3          49.     Beginning no later than June 2021, Defendant, without permission, knowingly
 4   accessed and took, copied, and made use of data from Meta’s computers, computer system, and
 5   computer network in violation of California Penal Code § 502(c)(2).
 6          50.     Beginning no later than June 2021, Defendant knowingly and without permission
 7   used or caused to be used Meta’s computer services in violation of California Penal Code
 8   § 502(c)(3).
 9          51.     Since June 2021, Defendant knowingly and without permission accessed and caused
10   to be accessed Meta’s computers, computer systems, and/or computer networks in violation of
11   California Penal Code § 502(c)(7). Defendant accessed Meta’s computer network after Meta
12   disabled its Instagram accounts, blocked its domain, and sent correspondence to Defendant
13   revoking its access.
14          52.     Because Meta suffered damages and losses as a result of Defendant’s actions and
15   continues to suffer damages and losses as a result of Defendant’s actions, Meta is entitled to
16   compensatory damages in an amount to be determined at trial, attorney fees, any other amount of
17   damages proven at trial, and injunctive relief under California Penal Code § 502(e)(1) and (2).
18          53.     Because Defendant willfully violated California Penal Code § 502, and there is clear
19   and convincing evidence that Defendant committed “fraud” as defined by section 3294 of the Civil
20   Code, Meta is entitled to punitive and exemplary damages under California Penal Code § 502(e)(4).
21                                    THIRD CAUSE OF ACTION
22                                          (Unjust Enrichment)
23          54.     Plaintiff realleges and incorporates all preceding paragraphs here.
24          55.     Defendant’s acts as alleged herein constitute unjust enrichment of Defendant at
25   Meta’s expense.
26          56.     Defendant accessed and used, without authorization or permission, Meta’s
27   computers, computer system, and computer network, all of which belong to Meta.
28
                                                     10
                                                 COMPLAINT
       Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 11 of 83




 1          57.     Defendant used Meta’s service, platform, and computer network to, among other
 2   things, scrape data from Instagram.
 3          58.     Defendant received a benefit by profiting off of its unauthorized use of Meta’s
 4   computers, computer system, and computer network. But for Defendant’s wrongful, unauthorized,
 5   and intentional use of Instagram, they would not have obtained such profits.
 6          59.     Defendant’s retention of the profits derived from its unauthorized use of Meta’s
 7   computers, computer system, and computer network would be unjust.
 8          60.     Defendant’s unauthorized use of Meta’s computers, computer system, and computer
 9   network has damaged Meta, including but not limited to the time and money spent investigating
10   and mitigating Defendant’s unlawful conduct.
11          61.     Meta seeks an accounting and disgorgement of Defendant’s ill-gotten profits in an
12   amount to be determined at trial.
13                                       REQUEST FOR RELIEF

14          WHEREFORE, Plaintiff requests judgment against Defendant as follows:

15
            1.      That the Court enter judgment against Defendant that Defendant has:
16
                    a.      Breached its contract with Plaintiff in violation of California law;
17
                    b.      Violated the California Comprehensive Computer Data Access and Fraud
18
                            Act, in violation of California Penal Code § 502;
19
                    c.      Been unjustly enriched at the expense of Meta in violation of California law.
20
            2.      That the Court enter a permanent injunction enjoining and restraining Defendant
21
     and his agents, servants, employees, successors, and assigns, and all other persons acting in concert
22
     with or conspiracy with it or affiliated with Defendant from:
23
                    a.      Accessing or attempting to access Meta’s platforms, including Facebook and
24
                            Instagram, and Meta’s computer systems;
25
                    b.      Developing, offering, and marketing software or computer code intended to
26
                            automate the collection of data or circumvent Meta’s enforcement measures;
27
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                                                 COMPLAINT
      Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 12 of 83



                  c.     Engaging in any activity that disrupts, diminishes the quality of, interferes
 1
                         with the performance of, or impairs the functionality of Meta’s platforms,
 2
                         including Facebook and Instagram, and Meta’s computer systems;
 3
                  d.     Engaging in any activity, or facilitating others to do the same, that violates
 4
                         Instagram’s Terms of Use and related policies;
 5
                  e.     Restraining Defendant from selling or distributing data of any kind obtained
 6
                         or purportedly obtained from Meta or its products, including Facebook and
 7
                         Instagram.
 8
           3.     That Plaintiff be awarded damages in such amounts to be proven at trial.
 9
           4.     That Plaintiff be awarded pre- and post-judgment interest as allowed by law.
10
           5.     That the Court grant all such other and further relief as the Court may deem just and
11
     proper.
12
     Dated: December 20, 2021                           KALPANA SRINIVASAN
13                                                      CHANLER LANGHAM
                                                        OLEG ELKHUNOVICH
14                                                      MICHAEL GERVAIS
                                                        LEAR JIANG
15                                                      SUSMAN GODFREY L.L.P.
16
                                                        By:    /s/ Kalpana Srinivasan
17                                                                Kalpana Srinivasan

18                                                      Attorneys for Plaintiff
                                                        META PLATFORMS, INC.
19
20                                                      Jessica Romero
                                                        Stacy Chen
21                                                      Bridget Anne Freeman
                                                        Olivia Gonzalez
22                                                      PLATFORM ENFORCEMENT AND
                                                        LITIGATION
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                                               COMPLAINT
      Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 13 of 83




 1                                    DEMAND FOR JURY TRIAL

 2         Plaintiff hereby demands a trial by jury on all issues triable to a jury.

 3   Dated: December 20, 2021                             KALPANA SRINIVASAN
                                                          CHANLER LANGHAM
 4                                                        OLEG ELKHUNOVICH
 5                                                        MICHAEL GERVAIS
                                                          LEAR JIANG
 6                                                        SUSMAN GODFREY L.L.P.

 7                                                        By:    /s/ Kalpana Srinivasan
                                                                    Kalpana Srinivasan
 8                                                        Attorneys for Plaintiff
 9                                                        META PLATFORMS, INC.

10                                                        Jessica Romero
                                                          Stacy Chen
11                                                        Bridget Anne Freeman
                                                          Olivia Gonzalez
12
                                                          PLATFORM ENFORCEMENT AND
13                                                        LITIGATION

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Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 14 of 83




                    EXHIBIT A
              2020-09-23 - Screenshot
     Case 3:21-cv-09807-AGT Document 1 from
                                         Filedsocialdata.hk
                                               12/20/21 Page 15 of 83




URL: https://help.socialdata.hk/articles/9891-what-products-do-you-offer
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 16 of 83




                    EXHIBIT B
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 17 of 83
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 18 of 83




                    EXHIBIT C
Case 3:21-cv-09807-AGT
              2021-10-11 Document  1 from
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                                            12/20/21 Page 19 of 83




    URL: https://community.riskiq.com/search/socialdata.hk/whois
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 20 of 83




                    EXHIBIT D
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 21 of 83
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 22 of 83




                    EXHIBIT E
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 23 of 83
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 24 of 83
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 25 of 83




                    EXHIBIT F
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 26 of 83
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 27 of 83
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 28 of 83
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 29 of 83
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 30 of 83
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 31 of 83
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 32 of 83
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 33 of 83




                    EXHIBIT G
       Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 34 of 83




                                     Services Agreement
                                      (ONLY VALID with DPA)

This agreement together with the data processing addendum (DPA) forms a Services Agreement and is
offered to you by Social Data Trading Limited with registered office at 7F, MW Tower, 111 Bonham Strand,
Sheung Wan, Hong Kong (Social Data or we) and applies to the Customer (or you) with respect to your
access to and use of Services (as defined below) we make available through http://socialdata.hk/ (referred
to collectively as the “Site”).

                                            1. Definitions

1.1. API Guide - information available at https://socialdata.hk/docs/api#section/Introduction

1.2. Influencers means natural or legal persons that have a presence on the Internet having in excess of a
     certain amount followers (decided by you) on various social media platforms.

1.3. Scraping means web scraping or screen scraping or content scraping and involves an act of obtaining
     information contained on websites through automated means. Same information may be obtained
     manually, but through automation, the speed and amount of obtained data is incomparably bigger.
     Web scraping can also be done manually by any Internet user, via the function of copy-pasting.

1.4. Service or Services means provision of information on Influencers through Scraping to you upon
     your request and instruction to us.

1.5. Site or website means www.socialdata.hk

                        2. Services and Your Use of The Services, License

2.1. We offer a web scraping service (with different types of payment methods and options) to help you
     find and get in touch with Influencers that suit your business needs (or those of your clients) most
     pertinently.

2.2. Any descriptions or illustrations on our site prior to your log in or sign up are published for the sole
     purpose of giving a general idea of the services described in them. They will not form part of the
     Agreement or have any contractual force.

2.3. We warrant to you that the Services will be provided using reasonable care and skill. We will use all
     reasonable endeavours to meet any performance dates agreed with you, but any such dates are
     estimates only and failure to perform the Services by such dates will not give you the right to terminate
     the Agreement.

2.4. Social Data grants to you a limited, non-exclusive, non-transferable, personal and non-assignable
     license and right to access and use the Site, and to all data, materials, information or other outputs
     from the Site as well as a result of Services (in a form of pdf documents or other literary works) during
     the Term of this Agreement.
      Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 35 of 83




                                    3. Provision Of The Services

3.1. You understand and agree that Social Data may modify, terminate, suspend, or otherwise adjust any
     and all aspects of the Services at any time without prior notice to you.

3.2. You acknowledge and agree that Social Data can disable access to Services for non-payment or other
     material breach of the Terms, you may be prevented from accessing your files or other content which
     is contained in Social Data Site or Services. You will not be due a refund should the suspension and/or
     termination of the Agreement be caused by your breach of this Agreement.

3.3. You acknowledge and agree that you are allowed to use only single account per person. In case of
     legal person you are allowed to use single account for multiple employees.

                                              4. Security

    As part of the registration process, you may be required to provide certain information. You agree that
    any registration information you give to Social Data will always be accurate, correct and up to date.
    You are responsible for protecting any tokens, keys or passwords for Social Data Site and Services
    from unauthorized access. You will be held responsible for any activity that occurs under your tokens,
    keys or passwords. You agree to notify Social Data immediately of any unauthorized use of your
    tokens, keys, passwords or any other breach of security. Social Data may access your tokens, keys,
    passwords from time to time to provide You with assistance on technical or billing issues or in order
    to maintain or improve the Services.

                               5. Data Processing Addendum (DPA)

5.1. The DPA forms part of this Agreement and lays out our relationship with you when dealing with
     personal data of Influencers. This Agreement is ONLY VALID with the DPA.

5.2. You acknowledge that certain obligations arise in relation to you processing personal data of
     Influencers that you receive from us through Services. You warrant that you will comply with the
     DPA and relevant laws applicable to your situation as the controller of personal data. Those may
     include, among others, and depending on the applicable laws, an obligation to:

    5.2.1. Notify Influencers of the fact that you are processing their personal data (at a minimum those
           Influencers whom you establish contact with at the time of first contact);

    5.2.2. Notify Influencers the source where you obtained Influencer personal data;

    5.2.3. Notify Influencers of their rights (right of deletion, provision of information and similar);

    5.2.4. Keep personal data of Influencers up to date and delete outdated personal data or that personal
           data that you are not intending to use;

    5.2.5. Keep personal data of Influencers secure in order to prevent unauthorized access or loss.
       Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 36 of 83



    5.2.6. Register with relevant authorities, if required.

5.3. Those obligations arise independently of our relationship with you, solely based on the fact that you
     would become the controller of personal data of Influencers. Social Data is not in a position to remove
     this obligation through any contractual means.

5.4. Our Services are limited to the provision of Influencer information to you for the establishment of
     contact and in the promotion of a business. What you do with that information after receipt is purely
     a matter of your business needs. While we cannot insist on how you process personal data you obtain
     through our Services compliance with the data protection laws is in your interest as the controller of
     that personal data, in order to avoid regulatory penalties and damage to the reputation.

5.5. Services are provided to you solely upon your request and instruction. You tell us your needs, we find
     relevant Influencers for you to get in touch with.

5.6. For instance, if you order information on five Influencers from Singapore with 10,000 followers,
     whose interests span sports, travelling, healthy eating with a 10% and above engagement rate for a
     post – we, as data processors, will try to find information on such Influencers to you and submit them
     as part of Services. You would then be under an obligation to treat that information in accordance with
     the relevant data protection laws of both the Influencers as well as your country of incorporation. We
     are not in a position to eliminate the need for your compliance with the data protection laws.
5.7. On our part, we warrant to comply with relevant data protection laws in cases where we are regarded
     an independent controller of that personal data.

                                          6. Charged Services

6.1. Certain features of the Site or the Services are associated with charges or fees (“Charged Services”).

6.2. For use of Services you may purchase access to various plans, some of which are listed below for
     illustrative purposes and will be specified in the invoice to you:
    6.2.1. Tokens;
    6.2.2. Subscription for:
        6.2.2.1.     Monthly tokens;
        6.2.2.2.     Audience Data;
        6.2.2.3.     Influencer Identification
        6.2.2.4.     Post Analytics
        6.2.2.5.     Sponsored Posts

6.3. All charges and fees are listed in US Dollars unless expressly identified otherwise. You agree to pay
     any applicable charges and fees associated with your use of the Services. Pricing is flexible and subject
     to change at any time. We do not guarantee that the pricing will remain the same throughout the
     validity of this Service Agreement. Should, however, the pricing change, you will have a chance to
     cancel your subscription without further obligation of either party towards the other.

6.4. In order to access Charged Services, you may purchase predefined set of tokens on pay as you go basis
     (“Tokens”). In this case you may pay for access to Charged Services with such Tokens. Tokens are
     valid for 6-month periods and expire after the end of such period. If not used by then, Tokens lose
     their validity and you are not due a refund. Should you, however, purchase additional Tokens within
       Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 37 of 83



     30 days of the expiry of the previous batch, we will, as a gesture of good will, reinstate the expired
     Tokens.

6.5. To access the parts of the Services that are associated with charges and fees, you must provide
     requested details and follow applicable billing procedures. Billing procedures are subject to change at
     any time without prior notice to you. By providing a payment method, you represent that you are
     authorized to use the payment method you provided and that the information provided by you is true
     and accurate. Social Data accounts can be billed in advance on a monthly basis and are non-refundable.
     There will be no refunds or credits for partial use of Service, upgrade/downgrade refunds, refunds for
     unused features, or refunds for failures or inaccessibility of Service due to circumstances beyond
     Social Data control. In order to treat everyone equally, no exceptions will be made. Downgrading your
     Service may cause the loss of content, features. Social Data does not accept any liability for such loss.
     Social Data reserves the right to suspend or terminate your access to the Services for nonpayment. If
     your Subscription is terminated for any reason, you are still liable for a remaining unpaid period of
     your Subscription if your Subscription is purchased on monthly basis. Social Data may recover such
     payments due and in that case you will bear all the expenses related to such recovery or/and debt
     collection.
6.5.1. Particulars of charges would be listed in the invoice to you.

6.5.2. Any Subscription auto renews on a monthly rolling basis unless 30 days’ notice of cancellation is
       provided to expire on the last day of a renewal period.

6.5.3. For avoidance of doubt, and among others, unless specified otherwise, you are limited to:

         6.5.3.1.     5000 search requests per month under Influencer Identification plan;
         6.5.3.2.     5 requests to Site per second;
         6.5.3.3.     1 account per person;
         6.5.3.4.     10 requests to API per second


                                               7. Content

7.1. You understand and acknowledge that such data/content may not be exhaustive and the analysis of
     the data/content is based on what third-party data sources provide to Social Data. The data/content is
     based on publicly available data/content and Social Data does not verify the accuracy of data/content
     provided by such third parties. In addition, the data/content collected and displayed may require access
     to third party sites and such third parties may prevent Social Data from generating such data/content.
     We, therefore, do not warrant that the data points or subscription type would remain the same
     throughout the validity of this Service Agreement. Those data points are subject to change but do not
     entitle you to a refund of any fees or charges paid.

7.2. Furthermore, government regulations and/or compliance with applicable laws may prevent Social
     Data from using certain data/content or providing it to you. You agree that you shall evaluate and bear
     all risks associated with the Services, including any reliance on the accuracy, completeness, or
     integrity of such Services. By using the Site and Services, you represent and warrant that you have
     such knowledge and experience in financial and business matters that you are capable of evaluating
     the merits and risks of the information made available in the Site and Services, and make effective use
     of the Services provided by Social Data as an analytical tool. You acknowledge that the Services are
          Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 38 of 83



        made available to you without any warranties of any kind. By using the Services you understand and
        agree that your use of the Services is at your sole discretion and risk.

   7.3. In furtherance of above, you understand that we may have to stop providing a particular type of
        Subscription depending on the available resources and access to third party platforms. You understand
        that you will not be due a refund in such a case, subject to our option to refund a pro-rata amount of
        the unused Subscription period.

   7.4. The Site may contain links to other sites on the Internet which are owned and operated by Third Party
        Vendors and other third parties (the “External Sites”). You acknowledge that Social Data is not
        responsible for the availability of, or the materials located on or through, any External Sites.


8. General restrictions on use of Services and restrictions on use of literary works obtained as a result
                                                  thereof

        While it is your right to freely use the information obtained as a result of our Services and
        contained in pdf documents, you agree that:

   8.1. you will not reproduce, duplicate, copy, sell, trade or resell the literary works you obtain through
        Services or our Site for any purpose without our prior permission;

   8.2. you will not obscure, alter, remove or delete any copyright or other proprietary notices contained in
        the literary works arising out of Services;

   8.3. you will not copy, modify, adapt, translate or otherwise create derivative works of any of the literary
        works (documents in pdf or otherwise) obtained from the Site;

   8.4. you warrant that you will not attempt or assist others to attempt or actually reverse engineer,
        decompile, disassemble or otherwise attempt to discover the source code of any software we may give
        you access to.

   8.5. Use the Services in any way that harms Social Data, its affiliates, resellers, distributors, customers,
        service providers and/or suppliers, as determined by Social Data in its sole reasonable discretion;

   8.6. Use the Services in any manner that could damage, disable, overburden, or otherwise harm the Site or
        interfere with any other party's use and enjoyment of the Services and/or Site;

   8.7. Use any meta tags or any other "hidden text" utilizing Social Data's name or trademarks without the
        prior written consent of Social Data;

   8.8. Display the Site in frames or utilize any other techniques to display the Site (or any content on the
        Site) without the prior written consent of Social Data;

   8.9. Use the Services in any manner which is contrary to the provisions of any applicable third party terms
        of use or other agreements (including any requirement to secure written permission prior to making
        certain utilization of content);

 8.10. Use the Services to "stalk" or otherwise harass another, or in breach of any applicable laws;
        Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 39 of 83



8.11. Employ any technique to compile any false or misleading information or content;

8.12. Harm minors in any way;

8.13. Intentionally or unintentionally violate any applicable local, state, national or international law,
 including, but not limited to, regulations promulgated by the U.S. Securities and Exchange Commission,
 any rules of any national or other securities exchange, including, without limitation, the New York Stock
 Exchange, the American Stock Exchange or the NASDAQ, and any regulations having the force of law;

8.14. Use the Services in any manner that violates or infringes the rights of any third parties, including
 without limitation copyright, trademark, patent publicity, or other proprietary rights;

8.15. Use the Social Data domain name or other contact information as a pseudonymous reply email, postal,
 and/or fax address (or any other type of return address) for any communication transmitted from another
 location or through another service or otherwise impersonate Social Data or any other third party;

8.16. Create multiple tokens, keys or passwords for disruptive or abusive purposes, or with overlapping use
 cases. Mass tokens, keys or passwords creation may result in suspension of all related tokens, keys or
 passwords.

8.17. any breach of these terms is cause for permanent suspension of all tokens, keys or passwords without
 any refund due thereof.

8.18. Access to Services is and will be limited to certain whitelisted IP addresses, as provided by you in
 advance or using the basic auth upon your advance request (subject to our approval). For further instruction
 you should check the API Guide.

8.19. Other restrictions may be listed in the particular invoice and such terms take precedence over any other
 term between us. Payment of the invoice would signify acceptance of such additional terms and restrictions.

8.20. It is a condition of this agreement that you will not exceed or breach any restrictions listed herein and
 in the API Guide. Any such breach, whether intentional or unintentional shall be repudiatory and entitle us
 to cancel your subscription and terminate the Service Agreement without further obligation to you.

8.21. YOU ACKNOWLEDGE AND AGREE THAT IN CASE WE DETECT MULTIPLE ACCOUNTS
 OR/AND PROMOTION PLANS ESTABLISHED FOR ONE PERSON, WE AT OUR SOLE
 DISCRETION MAY, WITHOUT WARNING AND REFUND, TERMINATE SUCH MULTIPLE
 ACCOUNTS OR/AND PROMOTION PLANS.

8.22. Neither party is allowed to link, use or refer to the other by name on the Internet or in any other media
 (newspapers, radio, TV and similar) as well as never disclose the nature of the other’s business, unless such
 information is already public knowledge.
       Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 40 of 83



                                          9. Confidentiality

9.1. Each party undertakes to keep the other party’s confidential information confidential and shall not use
     or disclose such confidential information except for the purpose of exercising or performing its rights
     and obligations under this Agreement.

9.2. Each party may disclose the other party's confidential information to its employees, officers,
     representatives or advisers who need to know such information for the purposes of carrying out the
     party's obligations under this Agreement and who are legally obligated to maintain its confidentiality,
     and as may be required by law, court order or any governmental or regulatory authority.

9.3. For the purposes of this Agreement, confidential information means all information, concerning one
     another's business, affairs, customers, clients or suppliers including the content of this Agreement,
     designated as confidential or which ought reasonably to be considered confidential. For instance, any
     information that is not public knowledge and You obtained access to solely through Services is
     confidential information and You shall not use nor disclose it without Social Data’s written consent.


                              10. Term; Cancellation Or Termination


10.1.        Term. This Agreement is effective on the date of your acceptance and terminates one year
     thereafter, unless extended by parties in advance.

10.2.        Termination for Cause. Should either party default in the performance of this Agreement or
     materially breach any of its obligations under this Agreement, the non-breaching party may terminate
     this Agreement immediately if the breaching party fails to cure the breach within 10 business days
     after having received written notice by the non-breaching party of the breach or default.

10.3.     Termination for Convenience. You may cancel the Services at any time, with or without cause.
     However, You understand and accept that by cancelling the Services:
           10.3.1. you will not receive a refund;
           10.3.2. you are obligated to pay all charges due until the end of the subscription – early
                 termination would cause us loss of expected profit from this Agreement with you;
           10.3.3. you would lose access to and use of your tokens, keys or passwords and any Services
                 and Services credits contained therein.

10.4.       Upon termination or expiration of this Agreement for any reason, all licensed rights granted in
     this Agreement to you will immediately cease to exist and are revoked. Sections 2, 3, 4, 7 to 11, and
     12 to 15, as well as your obligation to pay any fees applicable, will survive any expiration or
     termination of this Agreement for any reason.



                                        11. Proprietary Rights

11.1.       You acknowledge and agree that the Site and Services are the exclusive property of Social
     Data and except as may be otherwise provided herein, Social Data does not grant any express or
     implied right in them to you. Social Data owns the copyright for the Site as a compilation, and all
     Services accessible from the Site. All content included on the Site, such as text, graphics, logos, button
        Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 41 of 83



    icons, images, data compilations, and software, is the property of Social Data or its content suppliers
    and protected by international copyright laws. Any third party marks displayed on the Site and/or
    Services are the property of their respective owners. You further acknowledge that the Services may
    contain information which is designated confidential and that you shall not disclose such information
    without Social Data’s prior written consent.

                                              12. Notices


12.1.       When we refer to "in writing" in these Terms, this includes email.

12.2.        Any notice or other communication given under or in connection with this Agreement must be
     in writing and be delivered personally, sent by pre-paid first class post or other next working day
     delivery service, or email.

12.3.       A notice or other communication is deemed to have been received:

    12.3.1. if delivered personally, on signature of a delivery receipt;

    12.3.2. if sent by email, the next working day after transmission, subject to failed delivery notice.

    12.3.3. In proving the service of any notice, it will be sufficient to prove, in the case of a letter, that
          such letter was properly addressed, stamped and placed in the post and, in the case of an email,
          that such email was sent to the specified email address of the addressee.

12.4.     The provisions of this clause will not apply to the service of any proceedings or other
     documents in any legal action.

12.5.       Social Data email for notice purposes: info@socialdata.hk

12.6.       Customer email for notice purposes shall be the one which was used to log into the system. If
     the Customer wishes to use another email, it shall notify Social Data in advance.


                                            13. Warranties

13.1.       Social Data represents and warrants that at all times during the Term of this Agreement:
        13.1.1.1. it will comply with all applicable laws, rules, regulations, and guidelines;
        13.1.1.2. it is the owner of the Services or otherwise has the right to grant you the rights and
               license set forth in this Agreement and the Services will not infringe the intellectual
               property rights of any third party;
        13.1.1.3. the Services will be provided by qualified personnel in a professional and skillful
               manner;
        13.1.1.4. it will not, and will not allow the Services to, introduce into Customer software or
               systems any viruses, worms, time bombs, corrupted files, Trojan horses or other harmful or
               malicious code, files, scripts, agents, programs, or any other similar code that may interrupt,
               limit, damage the operation of Customer’s computers or property;
        Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 42 of 83



13.2.     Except to the extent set forth above, THE SERVICES ARE PROVIDED WITHOUT
     WARRANTY OF ANY KIND, EITHER EXPRESS OR IMPLIED. INCLUDING ANY
     WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, QUIET
     ENJOYMENT, AND ANY WARRANTIES ARISING OUT OF COURSE OF DEALING OR
     USAGE OF TRADE.

13.3.       You warrant that you have had access to, have read and understood all of the information
     available in the API Guide and will comply with those terms.




                   14. INDEMNIFICTION AND LIMITATION OF LIABILITY

14.1.        Indemnity. Each party will defend, indemnify and hold the other party and its affiliates,
     employees, officers and agents harmless from and against all claims, damages, liabilities, losses,
     expenses and costs (including reasonable fees and expenses of attorneys and other professionals)
     arising out of or resulting from:

    14.1.1. any allegation or action by a third party arising from or related to the Services or their use, or
          the other party’s receipt, possession, reproduction, use or sale thereof, infringes, misappropriates
          or violates such third party’s intellectual property rights;

    14.1.2. any allegation or action that would, if proven, constitute an inaccuracy, untruthfulness, or
          breach of any representation or warranty made by either party under this Agreement;

    14.1.3. any allegation or action by a third party that is based on a claim that an act or omission of the
          either party resulted in: (i) personal injury (or death) or tangible or intangible property damage
          (including loss of use); or (ii) the violation of any statute, ordinance, regulation or other law.

14.2.        Collectively, the matters arising under subsections (a) to (c) are each a “Claim”.

14.3.        Indemnification Procedures. As a condition to a party’s obligation to indemnify the other
     party under this Agreement, the indemnified party will: (i) provide the indemnifying party with prompt
     written notice of any Claim that would give rise to liability of the indemnifying party under this
     Agreement, provided that failure to give timely notice will not relieve the indemnifying of its
     obligations to the extent that such failure does not materially prejudice the indemnifying party’s ability
     to defend or settle such Claim; (ii) tender sole control of the defense and settlement of such Claim to
     the indemnifying party, provided that the indemnifying party will not settle any such Claim without
     the written consent of the indemnified party; (iii) provide the indemnifying party, at the indemnifying
     party’s expense, with such assistance as the indemnifying party may reasonably request; and (iv) not
     disclose the terms of any settlement unless required to do so by judicial or other government order,
     and will not publicize, or permit any third party to publicize, any settlement without the indemnifying
     party’s prior written consent. Further, the indemnified party may participate in the defense or
     settlement of a Claim with its own counsel at its expense.

14.4.        Limitation of Liability.Except for parties’ indemnification obligations in this Agreement and
     for breach of confidentiality, in no event will either party or an airline be liable for any special, indirect,
       Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 43 of 83



     incidental or consequential damages or for any damages resulting from loss of use, data or profits,
     whether in contract, tort, strict liability or otherwise, even if such party has been advised of the
     possibility of such damages. In no event will either party’s liability to the other party for damages in
     connection with this Agreement, whether in contract, tort or otherwise, exceed, in the aggregate, the
     amount of fees paid by Customer to Social Data during the 12 months prior to initiation of a claim
     under dispute resolution section herein.




                                 15. Governing Law and Jurisdiction

15.1.         Dispute Resolution. Except for the right of either Party to apply to a court of competent
     jurisdiction for a temporary restraining order, a preliminary injunction, or other equitable relief to
     preserve the status quo or prevent irreparable harm, in the event of any other controversy or claim
     arising out of or relating to this Agreement, or a breach thereof, the parties hereto agree first to try and
     settle the dispute by mediation, administered by the International Centre for Dispute Resolution under
     its Mediation Rules. If settlement is not reached within 60 days after service of a written demand for
     mediation, any unresolved controversy or claim arising out of or relating to this contract shall be
     settled by arbitration in accordance with the International Arbitration Rules of the International Centre
     for Dispute Resolution.

    15.1.1. The number of arbitrators shall be one;

    15.1.2. The place of arbitration shall be New York, NY, USA;

    15.1.3. The language of the arbitration shall be English.

15.2.        Each Party shall bear its own expenses, but Parties shall share equally in the expenses of the
     arbitration tribunal. The Parties agree that all arbitration proceedings conducted pursuant to this
     Section shall be kept strictly confidential, and all information disclosed in the course of such
     arbitration proceedings shall be used solely for the purpose of those proceedings. Judgment upon the
     award rendered by the arbitrator may be entered in any court of competent jurisdiction.


                                            16. Miscellaneous

16.1.       Social Data is an independent contractor of Customer, and nothing in this Agreement will be
     construed as establishing a partnership, joint venture, agency, employment or similar relationship.
     Social Data does not have any authority to bind Customer by contract or otherwise.

16.2.        If any provision of this Agreement is held invalid or unenforceable by a court of competent
     jurisdiction, the remaining provisions of this Agreement will remain in full force and effect, and the
     provision affected shall be deemed modified to the extent necessary to allow enforceability of the
     provision as so limited. If a deemed modification is not satisfactory to make the provision enforceable,
     then the unenforceable provision shall be deemed deleted, and the validity and enforceability of the
     remaining provisions shall not be affected thereby.
       Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 44 of 83



16.3.        Entire Agreement. This Agreement sets forth the entire agreement and understanding of the
     parties relating to the subject matter herein and supersedes all prior or contemporaneous discussions,
     understandings and agreements, whether oral or written, between them relating to the subject matter
     hereof.

16.4.       Amendments and Waivers. No modification of or amendment to this Agreement, nor any
     waiver of any rights under this Agreement, shall be effective unless in writing signed by the parties to
     this Agreement. No online terms or terms associated with any invoice, purchase order, or other
     document all modify this Agreement.

16.5.        Except as otherwise provided in this Agreement, this Agreement, and the rights and obligations
     of the parties hereunder, will be binding upon and inure to the benefit of their respective successors,
     assigns, heirs, executors, administrators and legal representatives. Social Data may assign any of its
     rights and obligations under this Agreement. No other party to this Agreement may assign, whether
     voluntarily or by operation of law, any of its rights and obligations under this Agreement, except with
     the prior written consent of the Company.
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 45 of 83




                    EXHIBIT H
Case 3:21-cv-09807-AGT
                 2020-09-23Document
                            - Screenshot 1
                                         fromFiled  12/20/21 Page 46 of 83
                                              socialdata.hk




      URL: https://help.socialdata.hk/articles/9892-how-have-you-obtained-this-data
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 47 of 83




                     EXHIBIT I
Case 3:21-cv-09807-AGT
                 2020-09-23Document
                            - Screenshot 1
                                         fromFiled  12/20/21 Page 48 of 83
                                              socialdata.hk




                     URL: https://socialdata.hk/audience-data
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 49 of 83




                     EXHIBIT J
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 50 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 51 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 52 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 53 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 54 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 55 of 83




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                                  2020-10-01
                  Case 3:21-cv-09807-AGT     - Billie1Eilish
                                          Document      FiledReport
                                                             12/20/21 Page 56 of 83




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Case 3:21-cv-09807-AGT     - Billie1Eilish
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                                           12/20/21 Page 57 of 83
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Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 58 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 59 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 60 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 61 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 62 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 63 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 64 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 65 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 66 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 67 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 68 of 83
                2020-10-01
Case 3:21-cv-09807-AGT     - Billie1Eilish
                        Document      FiledReport
                                           12/20/21 Page 69 of 83
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 70 of 83




                    EXHIBIT K
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              2021-10-11 - Screenshot 1 Filed 12/20/21 Page 71 of 83
                                         namecheap.com




URL: https://www.namecheap.com/domains/whois/result?domain=iqdata.social
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              2021-10-11 - Screenshot 1 Filed 12/20/21 Page 72 of 83
                                         namecheap.com




URL: https://www.namecheap.com/domains/whois/result?domain=iqdata.social
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 73 of 83




                    EXHIBIT L
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Case 3:21-cv-09807-AGT  Document 1 from
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                                          12/20/21 Page 74 of 83




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Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 75 of 83




                    EXHIBIT M
        Case 3:21-cv-09807-AGT
                       2021-05-20Document   1 Filed
                                  - Social Data     12/20/21
                                                Trading C&D Page 76 of 83




May 20, 2021                                                                     Gabriella Gallego


                                                                               D. +1.650.838.4815
                                                                               F. +1.650.838.4350

VIA EMAIL

Mariska Supra
Director - Social Data Trading Ltd.

18 Anaboom Crescent, Melody,
Hartbeespoort 0216,
Republic of South Africa

Aleksei Poliakov
Beneficial Owner – Social Data Trading Ltd.




Apt. 104
25 Borovskoe Highway
Moscow, 119633
Russian Federation

Adhar Singh
Vice President - Social Data Trading Ltd.



Social Data Trading Ltd.
7F, MW Tower,
111 Bonham Strand,
Sheung Wan,
Hong Kong


Re:    Cease and Desist of Facebook and Instagram - Social Data Trading Ltd.

Mses. Supra, Poliakov, and Singh:

We represent Facebook, Inc., based in Menlo Park, California (“Facebook”). Facebook operates,
among other products, Instagram. Facebook has gathered evidence that your service, Social
           Case 3:21-cv-09807-AGT
                          2021-05-20Document   1 Filed
                                     - Social Data     12/20/21
                                                   Trading C&D Page 77 of 83


Social Data
May 20, 2021
Page 2


Data, which uses the website socialdata.hk, scrapes user data from Instagram and supplies this
data to third parties for a fee. These activities violate Facebook’s and Instagram’s terms and
policies.

Pursuant to the terms of service and privacy policy at socialdata.hk, Social Data Trading Ltd.
provides the services at socialdata.hk. Facebook is aware that you previously operated under the
name Social Data Ltd., and it revoked your license to access Facebook and Instagram
permanently in April 2021. Your current activities constitute unauthorized access to Facebook
and Instagram systems.

Facebook demands that you stop your activities immediately.

Facebook takes the protection of the user experience very seriously, and it is committed to
keeping its products safe for users to interact and share information. Facebook has developed
terms and policies to protect the user experience and facilitate these goals.

Facebook’s and Instagram’s terms prohibit, among other things:

      Accessing and/or collecting users’ content or information through automated means
       without Facebook’s prior express written permission;

      Using or sharing user data without the users’ consent;

      Creating accounts for the purpose of misleading others or violating the terms;

      Impairing the intended operation of Facebook and Instagram; and

      Helping or encouraging others to violate Facebook and Instagram’s terms or policies.

See Facebook’s Terms of Service, https://www.facebook.com/legal/terms, and Instagram Terms
of Use, http://instagram.com/about/legal/terms/.

In addition to breaching the terms of service and interfering with Facebook’s business
expectations and interests, your activities may violate other federal and state laws. See Computer
Fraud and Abuse Act, 18 U.S.C. § 1030; Copyright Act, 17 U.S.C. § 101 et seq.; and the
California Comprehensive Computer Data Access and Fraud Act, Cal. Penal Code § 502.

Facebook has taken technical steps to deactivate your Facebook and Instagram accounts, and
hereby revokes Ms. Supra, Mr. Poliakov, Mr. Singh, and Social Data Trading Ltd.’s limited
licenses to access Facebook and Instagram, along with the limited licenses of their affiliates and
subsidiaries. This means that you, your agents, employees, affiliates, or anyone acting on
          Case 3:21-cv-09807-AGT
                         2021-05-20Document   1 Filed
                                    - Social Data     12/20/21
                                                  Trading C&D Page 78 of 83


Social Data
May 20, 2021
Page 3


your behalf (“You” or “Your”) may not access the Facebook or Instagram websites, mobile
applications, Platforms, services, or networks for any reason whatsoever. Facebook will
treat any further activity by You on its websites, mobile applications, Platforms, services, or
networks as intentional and unauthorized access to its protected computer networks.

Please respond to me WITHIN 48 hours confirming that You:

      Have stopped and will not in the future access the Facebook and Instagram websites
       and/or use Facebook’s and Instagram’s services for any reason whatsoever;

      Have shut down any and all websites you operate that are used to offer services related to
       Facebook or Instagram, and have removed all advertisements or postings on external
       websites advertising or describing Your services related to Facebook or Instagram;

      Have preserved and will continue to preserve in the future all information related to the
       activities described herein;

      Have stopped and will not in the future offer, transfer, market, sell, or offer to sell any
       services related to Facebook or Instagram;

      Will account for and disgorge any and all revenue earned from Your unauthorized
       activities related to Facebook or Instagram;

      Have secured all Facebook or Instagram data under Your control and ensured it is no
       longer accessible;

      Will, following the accounting required below, delete all data obtained from Facebook or
       Instagram; and
      Will enter into a written agreement memorializing Your commitment to compliance with
       the demands in this letter.

Along with Your response, You must provide the following information:

      A complete list of each and every product You created that offers insights or analytics
       about Instagram users or relies in any way on data obtained from Facebook or Instagram;

      A complete accounting of all compensation or revenue received by You in connection
       with your unauthorized services;
          Case 3:21-cv-09807-AGT
                         2021-05-20Document   1 Filed
                                    - Social Data     12/20/21
                                                  Trading C&D Page 79 of 83


Social Data
May 20, 2021
Page 4


      A detailed description of the methods You used to obtain data from Facebook, Instagram,
       or any of its affiliate companies;

      A copy of each and every version of any software code You have developed or used to
       automate access to or scrape data from the Facebook or Instagram websites and/or
       services, including any libraries, frameworks, or other code, and the source for that code
       if not Your own development;

      An accounting of any individual or entity who owns any portion of or exercises any
       control over Social Data Trading Ltd. or Adquantum Trading Ltd; and

      A complete accounting of all Facebook or Instagram data that You obtained from
       Facebook or Instagram, and a certification that this information has been deleted and
       destroyed.

If you ignore this letter and continue your current improper conduct, Facebook will take
whatever measures it believes are necessary to enforce its rights, maintain the quality of its
websites, and protect users’ information and privacy.

This letter is not intended by us, and should not be construed by you, as a waiver or
relinquishment of any of Facebook’s rights or remedies in this matter. Facebook specifically
reserves all such rights and remedies whether at law or in equity, under applicable domestic and
foreign laws.

Very truly yours,




Gabriella Gallego


cc: privacy@socialdata.hk
Case 3:21-cv-09807-AGT Document 1 Filed 12/20/21 Page 80 of 83




                    EXHIBIT N
           Case 3:21-cv-09807-AGT   Document
                      2021-06-03 - Perkins'     1 Filed
                                            response    12/20/21
                                                     to Adhar     Page 81 of 83
                                                              Singh


From:
To:
Subject:            RE: Cease and Desist of Facebook and Instagram - Social Data Trading Ltd.
Date:               Thursday, June 3, 2021 10:33:00 AM


Dear Mr. Singh:

Thank you for your response. Your letter concedes that you have been collecting data through your
provision of the services through these entities.

As requested in Facebook’s letter, please provide responses to our inquiries regarding your use,
collection, and scraping of Facebook and Instagram user data. Specifically, please provide a
complete list of the following:

    ·      Each and every product or service you created, offer, or provide that offers insights or
           analytics about Instagram users or uses in any way on data obtained from Facebook or
           Instagram;
    ·      A complete accounting of all compensation or revenue received by you in connection with
           those products or services;
    ·      A complete accounting of all Facebook or Instagram data that you obtained from Facebook
           or Instagram or from third parties, including a description of the data and the source from
           which it was obtained;
    ·      A detailed description of the methods you used to obtain data from Facebook, Instagram, or
           any of its affiliate companies;
    ·      Identification of all third-parties from whom you procure data from Facebook or Instagram,
           or about Facebook or Instagram users;
    ·      A copy of each and every version of any software code you have developed or used to collect
           data from the Facebook or Instagram websites and/or services, including any libraries,
           frameworks, or other code, and the source for that code;
    ·      An identification of each person or entity that has developed the code used to collect data
           from Facebook or Instagram;
    ·      An identification of each individual or entity who owns any portion of or exercises any
           control over Social Data Ltd., Social Data Trading Ltd., Zavarus Ltd., AdQuantum Ltd., or any
           other corporate entities that have been used to provide the violating services;
    ·      An identification of the individuals and entities you have worked with to provide nominee
           director services for Social Data Ltd., Social Data Trading Ltd., Zavarus Ltd., or any of the
           Quantum companies or their predecessor, successor, or affiliate entities; and
    ·      A description of your role, work, and affiliation with the AdQuantum Ltd., AppQuantum
           Publishing Ltd., PlayQuantum Ltd., AppDaddy, Fitingo, ECPI, family of companies, and any
           individuals associated with these entities.

Until you have accounted for all of this information and provided it to me, please do not delete or
destroy any of the requested data or records.

Apart from this, Facebook disagrees with your argument that hiQ Labs, Inc. v. LinkedIn stands for the
          Case 3:21-cv-09807-AGT   Document
                     2021-06-03 - Perkins'     1 Filed
                                           response    12/20/21
                                                    to Adhar     Page 82 of 83
                                                             Singh


proposition that the services you offered do not violate the law; we invite you to provide the basis
for your position.

In view of Facebook’s cease and desist letter, your license to access the platform remains revoked.
We look forward to your prompt response.

Gabriella Gallego | Perkins Coie LLP
ASSOCIATE
3150 Porter Drive
Palo Alto, CA 94304-1212
D. +1.650.838.4815
F. +1.650.838.4350




From: Adhar Singh
Sent: Saturday, May 22, 2021 4:30 AM
To: Gallego, Gabriella (PAO)
Subject: Re: Cease and Desist of Facebook and Instagram - Social Data Trading Ltd.

Hello,

Thank you for reaching out.

As per my knowledge, the service that we provided was fully compliant with the relevant legislation
and dealt solely with analysing publicly available data. As you may know, in light of the decision in
hiQ Labs, Inc. v. LinkedIn Corp, such an activity is not in breach of the laws alleged in your letter (or
any laws, for that matter).

Accessing and analysing publicly available information is a fundamental right, whether done by hand
on paper or through the assistance of technology.

It would be inappropriate to get involved in any further discussions until you have provided evidence
that led you to make such unsubstantiated allegations. It is not Social Data that has to prove its
innocence but the party putting forward an allegation that must provide the basis for its allegations.

Kind regards.
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On Fri, May 21, 2021 at 7:10 AM Gallego, Gabriella (Perkins Coie)
wrote:

    Mses. Supra, Poliakov, and Singh:

    Please open, read, and response to the attached letter sent on behalf of Facebook, Inc.
       Case 3:21-cv-09807-AGT   Document
                  2021-06-03 - Perkins'     1 Filed
                                        response    12/20/21
                                                 to Adhar     Page 83 of 83
                                                          Singh




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NOTICE: This communication may contain privileged or other confidential information. If you have received it in error, please advise
the sender by reply email and immediately delete the message and any attachments without copying or disclosing the contents.
Thank you.
